Case 2:20-cv-01395-DDP-KS Document 1 Filed 02/12/20 Page 1 of 13 Page ID #:1


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   8
                           UNITED STATES DISTRICT COURT
   9
                          CENTRAL DISTRICT OF CALIFORNIA
  10
       MOHAMED NOOH, individually                 CASE NO. 2:20-cv-1395
  11   and on behalf of all others similarly
       situated,                                  CLASS ACTION COMPLAINT
  12                                              (JURY TRIAL DEMANDED)
             Plaintiff,
  13
             v.
  14
       CANOGA PARK HAND CAR
  15   WASH; and DOES 1 to 100,
  16         Defendants.
  17

  18         Plaintiff Mohamed Nooh, individually and on behalf of all others similarly
  19   situated, complains and alleges as follows based on personal knowledge as to
  20   himself, on the investigation of his counsel, and on information and belief as to all
  21   other matters. Plaintiff believes that substantial evidentiary support will exist for
  22   the allegations set forth in this complaint, after a reasonable opportunity for
  23   discovery.
  24                                NATURE OF ACTION
  25         1.     Plaintiff brings this action for legal and equitable remedies resulting
  26   from the illegal actions of Canoga Park Hand Car Wash in transmitting unsolicited,
  27   autodialed SMS or MMS text messages, en masse, to Plaintiff’s cellular device and
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                                                -1-
                                CLASS ACTION COMPLAINT
Case 2:20-cv-01395-DDP-KS Document 1 Filed 02/12/20 Page 2 of 13 Page ID #:2



   1   the cellular devices of numerous other individuals across the country, in violation
   2   of the Telephone Consumer Protection Act, 47 U.S.C. § 227 (the “TCPA”).
   3                             JURISDICTION AND VENUE
   4          2.     The Court has subject-matter jurisdiction over this action pursuant to
   5   28 U.S.C. § 1331 and 47 U.S.C. § 227.
   6          3.     Personal jurisdiction and venue are proper in this district because
   7   Plaintiff resides in this district and Plaintiff’s claims arose in substantial part in this
   8   district. Defendant directed the text messages received by Plaintiff into this district
   9   by transmitting the messages to a telephone number that is assigned an area code
  10   (818) corresponding to a location in this district. Plaintiff received Defendants’
  11   unsolicited text messages on his cellular device while present in this district.
  12                                          PARTIES
  13          4.     Plaintiff is an individual and a “person” as defined by 47 U.S.C.
  14   § 153(39). Plaintiff is, and at all times mentioned herein was, a citizen and resident
  15   of Los Angeles, California.
  16          5.     Defendant Canoga Park Hand Car Wash is a “person” as defined by
  17   47 U.S.C. § 153(39). Defendant maintains, and at all times mentioned herein
  18   maintained, its corporate headquarters in Canoga Park, California.
  19          6.     Defendant DOES 1 to 100 are alter egos, affiliates, related companies,
  20   and/or agents of Canoga Park Hand Car Wash, and/or parties otherwise responsible
  21   for the actions and omissions alleged herein. At this time, Plaintiff does not know
  22   the true names and forms of Does 1 to 100 and therefore sues these defendants by
  23   fictitious names. Plaintiff alleges that these Doe defendants are responsible in some
  24   manner for the acts and omissions alleged herein and that Plaintiff’s damages were
  25   caused by these Doe defendants. Once the true identities and forms of these Doe
  26   defendants are ascertained, Plaintiff will amend his Complaint accordingly.
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                                                  -2-
                                  CLASS ACTION COMPLAINT
Case 2:20-cv-01395-DDP-KS Document 1 Filed 02/12/20 Page 3 of 13 Page ID #:3



   1         7.     Each of the Defendants named herein are and, at all material times,
   2   were the agents, subagents, servants, employees, representatives, and/or alter-egos
   3   of each other, and purported to act within the scope of such agency, service,
   4   employment or representation in performing the acts and omissions averred herein.
   5         8.     Each of the Defendants named herein acted in concert with each of the
   6   other Defendants as co-conspirators, agents, representatives, employees or servants
   7   and are therefore jointly and severally liable for the claims set forth herein, unless
   8   otherwise alleged.
   9         THE TELEPHONE CONSUMER PROTECTION ACT OF 1991
  10         9.     To address consumer complaints regarding certain telemarketing
  11   practices, Congress enacted the TCPA, 47 U.S.C. § 227, in 1991. The TCPA
  12   prohibits, inter alia, the use of automated telephone equipment, or “autodialers,”
  13   to make any call, including sending a text message, to a wireless number absent an
  14   emergency or the “prior express consent” of the party called. And in the case of
  15   calls or text messages that constitute “advertisements” or “telemarketing,” as
  16   defined by applicable regulations, the TCPA requires the “prior express written
  17   consent” of the called party before initiating such calls or texts using an autodialer
  18   or prerecorded voice.
  19         10.    According to findings by the Federal Communication Commission
  20   (“FCC”), which is vested with authority to issue regulations implementing the
  21   TCPA, autodialed calls and texts are prohibited because receiving them is a greater
  22   nuisance and more invasive than live solicitation calls and they can be costly and
  23   inconvenient. The FCC also recognized that wireless customers are charged for
  24   such incoming calls and texts whether they pay in advance or after the minutes or
  25   texts are used.
  26         11.    One of the most prevalent bulk advertising methods employed by
  27   companies today involves the use of “Short Message Services” (or “SMS”), which
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                                                -3-
                                CLASS ACTION COMPLAINT
Case 2:20-cv-01395-DDP-KS Document 1 Filed 02/12/20 Page 4 of 13 Page ID #:4



   1   is a system that allows for the transmission and receipt of short text messages to
   2   and from wireless telephones.        Another similar service called “Multimedia
   3   Messaging Services” (or “MMS”) is based upon and similar to the SMS system,
   4   but also permits the transmission of photos and videos via text message. According
   5   to a recent study, “[s]pam isn’t just for email anymore; it comes in the form of
   6   unwanted text messages of all kinds - from coupons to phishing schemes - sent
   7   directly to user’s cell phones.” 1
   8         12.    SMS and MMS text messages are directed to a wireless device
   9   through a telephone number assigned to the device. When an SMS or MMS text
  10   message is successfully transmitted, the recipient’s wireless phone alerts the
  11   recipient that a message has been received. SMS and MMS text messages are
  12   received virtually anywhere in the world.
  13         13.    Unlike more conventional advertisements, SMS and MMS message
  14   advertisements can actually cost their recipients money because wireless phone
  15   users must pay their wireless service providers either for each text message they
  16   receive or incur a usage allocation deduction to their text messaging or data plan,
  17   regardless of whether the message is authorized.
  18         14.    Moreover, the transmission of an unsolicited SMS or MMS text
  19   message to a cellular device is distracting and aggravating to the recipient and
  20   intrudes upon the recipient’s seclusion.
  21            FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS
  22         15.    Plaintiff is, and at all times mentioned herein was, the subscriber of
  23   the cellular telephone number (818) ***-8688 (the “8688 Number”). The 8688
  24   Number is, and at all times mentioned herein was, assigned to a cellular telephone
  25   service as specified in 47 U.S.C. § 227(b)(l)(A)(iii).
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          Amanda Lenhart, Cell Phones and American Adults, Pew Research Center (Sept. 2, 2010),
  28   https://www.pewresearch.org/internet/2010/09/02/cell-phones-and-american-adults/
                                                  -4-
                                 CLASS ACTION COMPLAINT
Case 2:20-cv-01395-DDP-KS Document 1 Filed 02/12/20 Page 5 of 13 Page ID #:5



   1         16.   For over at least the past year, continuing through the present,
   2   Defendant transmitted or caused to be transmitted, by itself or through an
   3   intermediary or intermediaries, numerous SMS or MMS text messages to the 8688
   4   Number without Plaintiff’s prior express written consent, an example of which is
   5   depicted in the screenshot below, which was extracted from Plaintiff’s cellular
   6   device:
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                              CLASS ACTION COMPLAINT
Case 2:20-cv-01395-DDP-KS Document 1 Filed 02/12/20 Page 6 of 13 Page ID #:6



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  10         17.    The hyperlinked URLs within Defendants’ text messages, including
  11   the URL in the above-depicted text messages, were leased or owned, and were
  12   operated and maintained, by Defendant or an agent or affiliate of Defendant.
  13         18.    The source of the unsolicited text messages that Defendant transmitted
  14   to the 8688 Number was 556-78, which is a telephone number leased by Defendant
  15   or Defendants’ agent(s) or affiliate(s) and is used for operating Defendants’ text
  16   message marketing program.
  17         19.    Because Plaintiff is alerted by his cellular device, by auditory or visual
  18   means, whenever he receives a text message, the unsolicited text messages that
  19   Defendant transmitted to Plaintiff’s cellular device were invasive and intruded
  20   upon Plaintiff’s seclusion upon receipt. Plaintiff became distracted and aggravated
  21   as a result of receiving Defendants’ unsolicited text messages.
  22         20.    All telephone contact by Defendant or affiliates, subsidiaries, or
  23   agents of Defendant to Plaintiff’s 8688 Number and to the numbers of the members
  24   of the Class defined below occurred using an “automatic telephone dialing system”
  25   (“ATDS”) as defined by 47 U.S.C. § 227(b)(l)(A).
  26         21.    Defendant transmitted its text messages to the 8688 Number and to
  27   the numbers of the members of the Class defined below using an “automatic
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                                CLASS ACTION COMPLAINT
Case 2:20-cv-01395-DDP-KS Document 1 Filed 02/12/20 Page 7 of 13 Page ID #:7



   1   telephone dialing system” because its text messages were sent from a telephone
   2   number used to message consumers en masse; because Defendants’ dialing
   3   equipment includes features substantially similar to a predictive dialer, inasmuch
   4   as it is capable of making numerous calls or texts simultaneously (all without
   5   human intervention); and because the hardware and software used by Defendant to
   6   send such messages have the capacity to store, produce, and dial random or
   7   sequential numbers, or to receive and store lists of telephone numbers and to then
   8   dial such numbers, en masse, in an automated fashion and without human
   9   intervention.
  10         22.       And in fact, Defendant actually transmitted the text messages at issue
  11   in this case to Plaintiff and all other unnamed Class members in an automated
  12   fashion and without human intervention, with hardware and software that received
  13   and stored lists of telephone numbers to be dialed and then dialed such numbers
  14   automatically.
  15         23.       The complained of SMS and/or MMS text messages sent by
  16   Defendant to the 8688 Number and to the numbers of the members of the Class
  17   defined below constituted “advertisements” and/or “telemarketing” material within
  18   the meaning of the applicable TCPA regulations. This is because Defendant sent
  19   the messages in order to advertise and market its goods and services, for the
  20   purpose of ultimately selling such goods and services to Plaintiff and other Class
  21   members for commercial profit.
  22         24.       Whether or not Defendants’ text messages to Plaintiff and others
  23   similarly situated were sent via an ATDS, the unsolicited text messages were sent
  24   pursuant to a common telemarketing scheme for which the Defendant, or any agent
  25   or intermediary acting on its behalf, did not comply with, and thus violated the
  26   telephone solicitation restrictions in 47 C.F.R. § 64.1200(f).
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                                  CLASS ACTION COMPLAINT
Case 2:20-cv-01395-DDP-KS Document 1 Filed 02/12/20 Page 8 of 13 Page ID #:8



   1         25.    Neither Plaintiff nor any members of the proposed Class provided
   2   their “prior express written consent” to Defendant or any affiliate, subsidiary, or
   3   agent of Defendant to permit Defendant to transmit text messages to the 8688
   4   Number or to any of the Class’s telephone numbers using an “automatic telephone
   5   dialing system” within the meaning of 47 U.S.C. § 227(b)(l)(A).
   6                                CLASS ALLEGATIONS
   7         26.    “ATDS Class” Definition. Plaintiff brings this civil class action on
   8   behalf of himself individually and on behalf of all other similarly situated persons
   9   as a class action pursuant to Federal Rule of Civil Procedure 23. The “Class” which
  10   Plaintiff seeks to represent is comprised of and defined as follows:
  11         All persons within the United States to whom, between February
  12         12, 2016 and the present, one or more text message(s) promoting
             Defendants’ goods or services was sent using an automatic
  13         telephone dialing system by Defendant or an affiliate, subsidiary,
  14         or agent of Defendant, and who did not provide Defendant prior
             express written consent to be sent such text message(s).
  15

  16         27.    Defendant, its employees, and agents are excluded from the Class.
  17         28.    Plaintiff reserves the right to modify the definition of the Class (or add
  18   one or more subclasses) after further discovery.
  19         29.    Plaintiff and all Class members have been impacted and harmed by
  20   the acts of Defendant or its affiliates or subsidiaries.
  21         30.    This Class Action Complaint seeks injunctive relief and monetary
  22   damages.
  23         31.    This action may properly be brought and maintained as a class action
  24   pursuant to Federal Rule of Civil Procedure 23(a) and (b). This class action
  25   satisfies the numerosity, typicality, adequacy, commonality, predominance, and
  26   superiority requirements.
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                                                 -8-
                                 CLASS ACTION COMPLAINT
Case 2:20-cv-01395-DDP-KS Document 1 Filed 02/12/20 Page 9 of 13 Page ID #:9



   1         32.    Upon application by Plaintiff’s counsel for certification of the Class,
   2   the Court may also be requested to utilize and certify subclasses in the interests of
   3   manageability, justice, or judicial economy.
   4         33.    Numerosity. The number of persons within the Class is substantial,
   5   believed to amount to thousands of persons dispersed throughout the United States.
   6   It is, therefore, impractical to join each member of the Class as a named plaintiff.
   7   Further, the size and relatively modest value of the claims of the individual
   8   members of the Class renders joinder impractical. Accordingly, utilization of the
   9   class action mechanism is the most economically feasible means of determining
  10   and adjudicating the merits of this litigation.
  11         34.    Typicality.    Plaintiff was sent at least five text messages from
  12   Defendant without providing his “prior express written consent” to be sent such
  13   message(s) from Defendant within the meaning of the TCPA. Consequently, the
  14   claims of Plaintiff are typical of the claims of the members of the Class, and
  15   Plaintiff’s interests are consistent with and not antagonistic to those of the other
  16   Class members he seeks to represent. Plaintiff and all members of the Class have
  17   been impacted by, and face continuing harm arising out of, Defendants’ violations
  18   or misconduct as alleged herein.
  19         35.    Adequacy. As Class representative, Plaintiff has no interests adverse
  20   to, or which conflict with, the interests of the absent members of the Class, and is
  21   able to fairly and adequately represent and protect the interests of such a Class.
  22   Plaintiff has raised viable statutory claims of the type reasonably expected to be
  23   raised by members of the Class and will vigorously pursue those claims. If
  24   necessary, Plaintiff may seek leave to amend this Class Action Complaint to add
  25   additional Class representatives or assert additional claims.
  26         36.    Competency of Class Counsel.           Plaintiff has retained and is
  27   represented by experienced, qualified, and competent counsel committed to
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                                                 -9-
                                  CLASS ACTION COMPLAINT
Case 2:20-cv-01395-DDP-KS Document 1 Filed 02/12/20 Page 10 of 13 Page ID #:10



    1   prosecuting this action. Plaintiff’s counsel is experienced in handling complex
    2   class action claims.
    3         37.    Commonality and Predominance. There are well-defined common
    4   questions of fact and law that exist as to all members of the Class defined above
    5   and predominate over any questions affecting only individual members of the
    6   Class. These common legal and factual questions, which do not vary from Class
    7   member to Class member and may be determined without reference to the
    8   individual circumstances of any Class member, include (but are not limited to) the
    9   following:
   10                a)    Whether Defendant or affiliates, subsidiaries, or agents of
   11                      Defendant transmitted advertising or telemarketing text
   12                      messages to Plaintiff’s and Class members’ cellular telephones;
   13                b)    Whether such text messages were sent using an “automatic
   14                      telephone dialing system”;
   15                c)    Whether Defendant or affiliates, subsidiaries, or agents of
   16                      Defendant can meet their burden to show Defendant obtained
   17                      “prior express written consent” (as defined by 47 C.F.R.
   18                      64.1200(f)(8)) to send the text messages complained of,
   19                      assuming such an affirmative defense is raised;
   20                d)    Whether Defendant or affiliates, subsidiaries, or agents of
   21                      Defendant should be enjoined from engaging in such conduct
   22                      in the future.
   23         38.    Superiority. A class action is superior to other available methods for
   24   the fair and efficient adjudication of this controversy because individual litigation
   25   of the claims of all Class members is impracticable. Even if every member of the
   26   Class could afford to pursue individual litigation, the Court system could not.
   27   Individualized litigation would also present the potential for varying, inconsistent
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                                 CLASS ACTION COMPLAINT
Case 2:20-cv-01395-DDP-KS Document 1 Filed 02/12/20 Page 11 of 13 Page ID #:11



    1   or contradictory judgments, and would magnify the delay and expense to all parties
    2   and to the court system by causing multiple trials of the same factual issues. By
    3   contrast, the maintenance of this action as a class action, with respect to some or
    4   all of the issues presented herein, presents few management difficulties, conserves
    5   the resources of the parties and the court system and protects the rights of each
    6   member of the Class. Plaintiff anticipates no difficulty in the management of this
    7   action as a class action. Class wide relief is essential to compel compliance with
    8   the TCPA.      The interest of Class members in individually controlling the
    9   prosecution of separate claims is small because the statutory damages in an
   10   individual action for violation of the TCPA are small. Management of these claims
   11   is likely to present significantly fewer difficulties than are presented in many class
   12   actions because the text messages at issue are all automated and the Class members,
   13   by definition, did not provide the prior express written consent required under the
   14   statute to authorize such text messages to their cellular telephones. The Class
   15   members can be readily located and notified of this class action through
   16   Defendants’ records and, if necessary, the records of cellular telephone providers.
   17         39.    Additionally, the prosecution of separate actions by individual Class
   18   members would create a risk of multiple adjudications with respect to them that
   19   would, as a practical matter, be dispositive of the interests of other members of the
   20   Classes who are not parties to such adjudications, thereby substantially impairing
   21   or impeding the ability of such nonparty Class members to protect their interests.
   22   The prosecution of individual actions by Class members could further establish
   23   inconsistent results and/or establish incompatible standards of conduct for
   24   Defendant.
   25         40.    Defendant or any affiliates, subsidiaries, or agents of Defendant have
   26   acted on grounds generally applicable to the Classes, thereby making final
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                                                -11-
                                 CLASS ACTION COMPLAINT
Case 2:20-cv-01395-DDP-KS Document 1 Filed 02/12/20 Page 12 of 13 Page ID #:12



    1   injunctive relief and corresponding declaratory relief with respect to the Class as a
    2   whole appropriate.
    3         41.    Moreover, on information and belief, Plaintiff alleges that the TCPA
    4   violations complained of herein are substantially likely to continue in the future if
    5   an injunction is not entered.
    6                          FIRST CLAIM FOR RELIEF
    7   Violations of the TCPA, 47 U.S.C. § 227(b)(3) & 47 U.S.C. § 227(b)(1)(A) (On
         Behalf of Plaintiff and the ATDS Class Members Against All Defendants)
    8         42.    Plaintiff incorporates by reference the foregoing paragraphs of this
    9   Class Action Complaint as if fully stated herein.
   10         43.    The foregoing acts and omissions constitute violations of the TCPA
   11   by Defendants, including but not limited to violations of 47 U.S.C. § 227(b)(l).
   12         44.    As a result of Defendants’ violations of the TCPA, Plaintiff and all
   13   ATDS Class members are entitled to, and do seek, injunctive relief prohibiting such
   14   conduct violating the TCPA in the future pursuant to 47 U.S.C. § 227(b)(3).
   15         45.    As a result of Defendants’ violations of the TCPA, Plaintiff and all
   16   ATDS Class members are also entitled to, and do seek, an award of $500.00 in
   17   statutory damages for each violation of the TCPA (or $1,500.00 for any such
   18   violations committed willfully or knowingly) pursuant to 47 U.S.C. § 227(b)(3).
   19         46.     Plaintiff and ATDS Class members also seek an award of attorneys’
   20   fees and costs.
   21                                   PRAYER FOR RELIEF
   22         WHEREFORE, Plaintiff Mohamed Nooh prays for relief and judgment in
   23   favor of himself and the Class as follows:
   24         A.     Injunctive relief prohibiting such violations of the TCPA in the future;
   25         B.     Statutory damages of $500.00 (or $1,500.00 for any willful or
   26   knowing violations) for Plaintiff and each member of the ATDS Class for each of
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                                 CLASS ACTION COMPLAINT
Case 2:20-cv-01395-DDP-KS Document 1 Filed 02/12/20 Page 13 of 13 Page ID #:13



    1   Defendants’ violations of 47 U.S.C. § 227(b)(l)(A) pursuant to 47 U.S.C. §
    2   227(b)(3);
    3         C.     An award of attorneys’ fees and costs to counsel for Plaintiff and the
    4   Class; and
    5         D.     An Order certifying this action to be a proper class action pursuant to
    6   Federal Rule of Civil Procedure 23, establishing an appropriate Class and any
    7   Subclasses the Court deems appropriate, finding that Plaintiff is a proper
    8   representative of the Class, and appointing the law firm representing Plaintiff as
    9   counsel for the Class.
   10                            DEMAND FOR JURY TRIAL
   11         Plaintiff, on behalf of himself and the Class, hereby demands a trial by jury
   12   pursuant to Federal Rule of Civil Procedure 38(b) on all claims so triable.
   13   DATED: February 12, 2020                  Respectfully submitted.
   14

   15                                              PARKER COLE, P.C.
                                                   By: /s/ Kevin J. Cole              ____
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   17                                              Counsel for Plaintiff and the Putative
                                                   Class
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                                 CLASS ACTION COMPLAINT
